        CASE 0:18-cv-00577-JNE-TNL Doc. 72 Filed 08/14/18 Page 1 of 32




                        UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MINNESOTA

DEBORAH VIGEANT, RHONDA                 Case No.: 0:18-cv-00577-JNE-TNL
WOOD, ELIZABETH MILLANE,
DOUGLAS ECKELBECKER, AMANDA
ECKELBECKER, RODNEY UTING, and
LAWRENCE ANDERSON, and all other
individuals similarly situated,

                 Plaintiffs,

vs.

MICHAEL MEEK, PAUL HARMEL,
P. ROBERT LARSON, DONALD
GOLDFUS, JOHN ANDERSON, BRUCE
NICHOLSON, BERNIE ALRICH, TED
KOENECKE, GLENN ELO, NEWPORT
TRUST COMPANY, and LIFETOUCH
INC.,

                 Defendants.


          PLAINTIFFS’ OMNIBUS OPPOSITION TO DEFENDANTS’
      MOTIONS TO DISMISS THE AMENDED CLASS ACTION COMPLAINT

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             CASE 0:18-cv-00577-JNE-TNL Doc. 72 Filed 08/14/18 Page 2 of 32




                                                       Table of Contents

                                                                                                                                     Page

INTRODUCTION .......................................................................................................................... 1


ARGUMENT .................................................................................................................................. 5


    I.      Plaintiffs Have Adequately Alleged a Breach of the Fiduciary Duty of
            Prudence as to the 2015 and 2016 Valuations .................................................................... 6


         a. The 2015 and 2016 Valuations Were Artificially Inflated ............................................... 7


         b. Defendants’ Failure to Act on the Artificial Inflation of
            Lifetouch Stock Was a Breach of Fiduciary Duty ........................................................... 9


    II. Plaintiffs Have Adequately Pleaded a Breach of the Fiduciary Duty of
        Prudence as to the 2017 and 2018 Valuations .................................................................. 18


         a. Newport Trust’s Purported Factual Assertions Regarding the
            Shutterfly Purchase Price Should Not Be Credited on a Motion to Dismiss ................. 19


         b. Newport Trust Breached Its Fiduciary Duty of Prudence in
            Approving the $825 Million Purchase Price .................................................................. 22


    III. Plaintiffs Have Adequately Pleaded Breach of the Duty of Loyalty ................................ 23


    IV. Plaintiffs Have Adequately Pleaded a Breach of the Duty to Monitor ............................. 23


    V. If the Court Grants Defendants’ Motions to Dismiss,
       It Should Do So Without Prejudice .................................................................................. 24


CONCLUSION ............................................................................................................................. 26




                                                                      i
           CASE 0:18-cv-00577-JNE-TNL Doc. 72 Filed 08/14/18 Page 3 of 32




                                                 Table of Authorities

                                                                                                                      Page(s)


Cases
Allen v. GreatBanc Trust Co.,
  835 F.3d 670 (7th Cir. 2016) ................................................................................... 14, 22

Armstrong v. LaSalle Bank Nat’l Ass’n,
  446 F.3d 728 (7th Cir. 2006) ......................................................................................... 10

Ashcroft v. Iqbal,
  556 U.S. 662 (2009) ......................................................................................................... 6

Aten v. Scottsdale Ins. Co.,
  511 F.3d 818 (8th Cir. 2009) ........................................................................................... 6

Beaulieu v. Ludeman,
  2008 U.S. Dist. LEXIS 119324 (D. Minn. Feb. 7, 2008) .............................................. 22

Bell Atl. Corp. v. Twombly,
  550 U.S. 544 (2007) ......................................................................................................... 6

Bigger v. Am. Commercial Lines,
  862 F.2d 1341 (8th Cir. 1988) ....................................................................................... 23

Braden v. Wal-Mart Stores, Inc.,
  588 F.3d 585 (8th Cir. 2009) ............................................................................... 6, 17, 22

Brannen v. First Citizens Bankshares, Inc.,
  2016 U.S. Dist. LEXIS 114775 (S.D. Ga. Aug. 26, 2016) ............................................ 10

Cent. States, Southeast & Southwest Areas Pension Fund v. Cent. Transp., Inc.,
  472 U.S. 559 (1985) ....................................................................................................... 17

Clayton v. White Hall Sch. Dist.,
  778 F.2d 457 (8th Cir. 1985) ......................................................................................... 26

Crocker v. KV Pharm. Co.,
  782 F. Supp. 2d 760 (E.D. Mo. 2010) ........................................................................... 24


                                                               ii
           CASE 0:18-cv-00577-JNE-TNL Doc. 72 Filed 08/14/18 Page 4 of 32




Donovan v. Bierwirth,
 680 F.2d 263 (2d Cir. 1982) ............................................................................................. 1

Dunnigan v. Fed. Home Loan Mortg. Corp.,
 184 F. Supp. 3d 726 (D. Minn. 2016) ............................................................................ 21

Erickson v. Pardus,
  551 U.S. 89 (2007) ......................................................................................................... 17

Fifth Third Bancorp v. Dudenhoeffer,
  134 S. Ct. 2459 (2014) ....................................................................................... 14, 15, 17

Fish v. Greatbanc Tr. Co.,
  2016 U.S. Dist. LEXIS 137351 (N.D. Ill. Sept. 1, 2016) .............................................. 12

Fla. State Bd. of Admin. v. Green Tree Fin. Corp.,
  270 F.3d 645 (8th Cir. 2001) ......................................................................................... 19

In re 2007 Novastar Fin. Inc., Sec. Litig.,
  579 F.3d 878 (8th Cir. 2009) ......................................................................................... 26

In re ADC Telcoms., Inc.,
  2004 U.S. Dist. LEXIS 14383 (D. Minn. July 26, 2004) .............................................. 11

In re Elec. Data Sys. Corp. “ERISA” Litig.,
  305 F. Supp. 2d 658 (E.D. Tex. 2004) ........................................................................... 13

In re Marsh ERISA Litig.,
  2006 U.S. Dist. LEXIS 90631 (S.D.N.Y. Dec. 14, 2006) ............................................. 13

In re Polaroid ERISA Litig.,
  362 F. Supp. 2d 461 (S.D.N.Y. 2005) ........................................................................... 13

In re Target Corp. Sec. Litig.,
  275 F. Supp. 3d 1063 (D. Minn. 2017) .................................................................... 12, 15

In re Worldcom, Inc.,
  263 F. Supp. 2d 745 (S.D.N.Y. 2003) ........................................................................... 13

In re Xcel Energy, Inc.,
  312 F. Supp. 2d 1165 (D. Minn. 2004) .................................................................... 14, 23


                                                               iii
           CASE 0:18-cv-00577-JNE-TNL Doc. 72 Filed 08/14/18 Page 5 of 32




Jander v. IBM,
  205 F. Supp. 3d 538 (S.D.N.Y. 2016) ........................................................................... 13

Kushner v. Beverly Enters.,
  317 F.3d 820 (8th Cir. 2003) ......................................................................................... 19

Little Gem Life Scis., LLC v. Orphan Med., Inc.,
  537 F.3d 913 (8th Cir. 2008) ......................................................................................... 19

Martin v. Feilen,
 965 F.2d 660 (8th Cir. 1992) ......................................................................................... 23

Mattes v. ABC Plastics, Inc.,
 323 F.3d 695 (8th Cir. 2003) ........................................................................................... 6

Morrison v. Moneygram Int’l, Inc.,
 607 F. Supp. 2d 1033 (D. Minn. 2009) .......................................................................... 11

Precision Vascular Sys., Inc. v. Sarcos, L.C.,
  199 F. Supp. 2d 1181 (D. Utah 2002)............................................................................ 13

Sheldon v. Vermonty,
  31 F. Supp.2d 1287 (D. Kan. 1998) ............................................................................... 14

Tibble v. Edison Int’l,
  135 S. Ct. 1823 (2015) ................................................................................................... 11

Varity Corp. v. Howe,
  516 U.S. 489 (1996) ....................................................................................................... 13

Vila v. Inter-Am. Inv. Corp.,
  570 F.3d 274 (D.C. Cir. 2009) ....................................................................................... 17

Wieland v. U.S. Dep’t of Health and Human Servs.,
 793 F.3d 949 (8th Cir. 2015) ......................................................................................... 21

Wright v. Medtronic,
 2010 U.S. Dist. LEXIS 24748 (D. Minn. Mar. 17, 2010) ............................................... 5




                                                              iv
        CASE 0:18-cv-00577-JNE-TNL Doc. 72 Filed 08/14/18 Page 6 of 32




      Plaintiffs Deborah Vigeant, Rhonda Wood, Elizabeth Millane, Douglas

Eckelbecker, Amanda Eckelbecker, Rodney Uting, and Lawrence Anderson (collectively,

“Plaintiffs”), by and through their attorneys, file this Omnibus Opposition to Defendants’

Motions to Dismiss the Amended Class Action Complaint on behalf of themselves and

other similarly situated current and former employees of Lifetouch Inc. (“Lifetouch” or

the “Company”).

                                   INTRODUCTION

      Plaintiffs, representing a putative class of current and former employees of

Lifetouch, bring claims under the Employee Retirement Income Security Act of 1974

(“ERISA”) for breaches of the fiduciary duties of prudence and loyalty based on the utter

failure of Defendants, fiduciaries of the Lifetouch Inc. Employee Stock Ownership Plan

(the “Plan”), to adhere to duties that are supposed to be the “highest known to the law.”

Donovan v. Bierwirth, 680 F.2d 263, 272 n.8 (2d Cir. 1982). Because of Defendants’

misconduct, at least $800 million, and perhaps more than $1 billion, of Lifetouch

employees’ retirement savings has been lost. (AC ¶¶ 6, 62, 72, 81.)1

      Lifetouch is a professional photography company that, until it was recently acquired

by Shutterfly, Inc. (“Shutterfly”), was privately held and owned entirely by its employees.

(AC ¶¶ 4-6.) The Plan was the vehicle through which this employee ownership was

accomplished.




1
      “AC” refers to Plaintiffs’ Amended Class Action Complaint. (See Dkt. No. 30.)

                                            1
        CASE 0:18-cv-00577-JNE-TNL Doc. 72 Filed 08/14/18 Page 7 of 32




       Three groups comprise Defendants:

       1. The members of the Lifetouch Board of Directors, who were named fiduciaries

          of the Plan and were responsible for overseeing and monitoring the fiduciaries

          tasked with managing the Plan. (AC ¶ 46.)

       2. Lifetouch itself, also a named fiduciary of the Plan and the official Plan

          Administrator responsible for, among other things, communicating with Plan

          participants. (AC ¶¶ 51-52.)

       3. The Trustee, directly responsible for managing the Plan and for the valuation of

          Lifetouch stock, the principal asset of the Plan. (AC ¶¶ 47-50.) Until May 2017,

          two senior executives at Lifetouch served as the Trustee. (Id. ¶ 48.) After that

          time, Evercore Trust Company, N.A. (“Evercore”) assumed the role of Trustee.

          (Id. ¶ 49.) Defendant Newport Trust Company (“Newport Trust”) acquired

          Evercore in October 2017 and assumed all of Evercore’s liabilities. (Id. ¶ 43.)

       Each of these Defendants owed fiduciary duties under ERISA to Plaintiffs and the

other Plan participants. Each of these Defendants also breached those fiduciary duties in

multiple ways.

       In 2015 and 2016, Lifetouch, facing a new digital landscape in the photography

business, suffered repeated financial setbacks—studio closings, facility closings, layoffs,

and the departure of numerous senior executives. (AC ¶¶ 58-59, 75-77.) Strangely,

however, Lifetouch’s stock valuations remained buoyant at $93 a share in 2015 and $88 a

share in 2016. (Id. ¶ 58.) Only in 2017, after the retirements of senior executives, including


                                              2
        CASE 0:18-cv-00577-JNE-TNL Doc. 72 Filed 08/14/18 Page 8 of 32




Defendant Paul Harmel, were completed did the valuation of Lifetouch’s stock approach

reality, dropping a stunning 36% to $56 a share. (Id. ¶¶ 64, 77-78.) Yet the bad news had

all hit Lifetouch in 2015 and 2016, so the tepid drops in valuation during those years made

little sense, especially when compared with the massive 2017 drop that followed. (Id. ¶¶

58-62, 75-78.)

       The 2015 and 2016 valuations constituted breaches of Defendants’ fiduciary duties.

The Lifetouch executives responsible for valuing Lifetouch’s stock should have recognized

that their pricing did not match Lifetouch’s beleaguered financial reality and should have

investigated the evident discrepancy. (AC ¶¶ 58-59, 99.) More egregiously, the Board

members and Lifetouch itself deliberately manipulated the data provided to the Trustee to

inflate Lifetouch’s value so that members of their cohort, including Defendant Harmel,

could cash out their Lifetouch shares at an artificially high price. (Id. ¶¶ 61-62.)

       These actions had terrible consequences for Plaintiffs and other Plan participants.

Because Lifetouch stock was artificially overvalued, the Plan purchased fewer shares than

it could otherwise afford if the stock had been correctly valued. (AC ¶ 78.) Moreover,

employees who cashed out at these artificially inflated prices did so to the detriment of

those who remained in the Plan. (Id. ¶¶ 81, 84.) As much as $1 billion in value to Plan

participants was likely lost in this way. (Id.)

       In 2017, with Defendant Harmel safely retired, Newport Trust, not having to rely on

manipulated data, appeared to value Lifetouch stock accurately. (AC ¶¶ 62-64.) Yet by

that time Lifetouch was already planning to sell itself, and Shutterfly soon proved to be a


                                              3
        CASE 0:18-cv-00577-JNE-TNL Doc. 72 Filed 08/14/18 Page 9 of 32




willing buyer. (Id. ¶¶ 67-68.) When Shutterfly’s acquisition was announced in January

2018, however, despite the financial condition of Lifetouch being virtually unchanged from

the time of the 2017 valuation, the acquisition price was only $825 million (plus

unspecified, and potentially valueless, “cash and cash equivalents”), a more-than-17% drop

in value. (Id. ¶¶ 70-71.) Although Newport Trust should have recognized that this price

was too low and not an accurate reflection of the Company’s value, it did not investigate

the issue, and Lifetouch employees were harmed again. (Id. ¶¶ 71-72, 99.)

       In the face of these disturbing allegations of misconduct, Defendants have filed two

motions to dismiss.2 None of the arguments advanced in either motion should persuade

this Court to dismiss any of Plaintiffs’ claims.

       The Lifetouch Defendants’ main contention is that Plaintiffs’ allegations are not

specific enough. Yet longstanding precedent in this Circuit holds that in ERISA cases such

as this, where the plaintiff is an employee without access to high-level inside information,

specificity in pleading is hard to come by; a plaintiff can allege circumstantial evidence of

wrongdoing and a Court can reasonably infer from those allegations that a breach of

fiduciary duty occurred. What is more, however, is that where Plaintiffs have made

extremely detailed and specific allegations regarding the means by which Defendants

manipulated the valuation of Lifetouch stock, the Lifetouch Defendants all but ignore them,


2
        The memorandum of law in support of the motion of Defendants Michael Meek,
Paul Harmel, P. Robert Larson, Donald Goldfus, John Anderson, Bruce Nicholson, Bernie
Alrich, Ted Koenecke, Glenn Elo, and Lifetouch Inc. (collectively, the “Lifetouch
Defendants”) (see Dkt. No. 67) is abbreviated throughout as “LD Mem.” The
memorandum of law in support of the motion of Defendant Newport Trust (see Dkt. No.
52) is abbreviated throughout as “NT Mem.”
                                              4
        CASE 0:18-cv-00577-JNE-TNL Doc. 72 Filed 08/14/18 Page 10 of 32




arguing only in passing that such allegations should be subject to the particularized, fraud-

based pleading standard of Federal Rule 9(b), which has never been held to apply to pure

breach-of-fiduciary-duty allegations like Plaintiffs’.

       Newport Trust bases almost the entirety of its dismissal arguments on a bald

assertion of purported fact: namely, that Lifetouch was not really acquired for $825

million, but actually for $963 million—or $988 million, or perhaps some other figure.

Newport Trust supports its claim with a declaration from one of its employees and a

Securities and Exchange Commission (“SEC”) filing by Shutterfly. Neither of these pieces

of putative evidence has been tested through discovery; indeed, Newport Trust can offer

no authority that would permit this Court to take judicial notice of these documents for the

truth of their contents. Which is just as it should be at the motion-to-dismiss stage, when

only the allegations in Plaintiffs’ pleading are supposed to be taken as true.

       Defendants’ misconduct has depleted Lifetouch employees of hundreds of millions,

if not billions, of dollars of their retirement savings.       Defendants should be held

accountable. Accordingly, and for the reasons discussed below, Defendants’ motions to

dismiss should be denied.


                                       ARGUMENT

       In reviewing a motion to dismiss, a court must accept as true all factual allegations

in the complaint and draw all reasonable inferences in the plaintiff’s favor. Wright v.

Medtronic, 2010 U.S. Dist. LEXIS 24748, at *8 (D. Minn. Mar. 17, 2010); Aten v.



                                              5
         CASE 0:18-cv-00577-JNE-TNL Doc. 72 Filed 08/14/18 Page 11 of 32




Scottsdale Ins. Co., 511 F.3d 818, 820 (8th Cir. 2009); Maki v. Allete, Inc., 383 F.3d 740,

742 (8th Cir. 2004); Mattes v. ABC Plastics, Inc., 323 F.3d 695, 697 (8th Cir. 2003).

         Federal Rule of Civil Procedure 12(b)(6)’s plausibility standard is not “a probability

requirement.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citation and internal quotation

marks omitted). A “well-pleaded complaint may proceed even if it strikes a savvy judge

that actual proof of the facts alleged is improbable, and that a recovery is very remote and

unlikely.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 556 (2007) (quotations omitted).

         In an ERISA action, the Court “must take account of [plaintiffs’] limited access to

crucial information.” Braden v. Wal-Mart Stores, Inc., 588 F.3d 585, 598 (8th Cir. 2009).

“If plaintiffs cannot state a claim without pleading facts which tend systemically to be in

the sole possession of defendants, the remedial scheme of the statute will fail, and the

crucial rights secured by ERISA will suffer.” Id.

    I.      Plaintiffs Have Adequately Alleged a Breach of the Fiduciary Duty of
            Prudence as to the 2015 and 2016 Valuations

         Lifetouch stock was valued at an artificially inflated price in 2015 and 2016. (AC

¶¶ 11, 16, 20, 58-62, 78.) The Board Defendants3 and Lifetouch enabled this artificially

inflated valuation by providing manipulated, inaccurate data to the Lifetouch Trustees4 and

thereby to the independent advisor tasked with performing the actual valuation. (Id. ¶¶ 11,


3
       Defendants Michael Meek, Paul Harmel, P. Robert Larson, Donald Goldfus, John
Anderson, Bruce Nicholson and Bernie Alrich were members of Lifetouch’s Board of
Directors during the Class Period (June 30, 2015 through the present) and were thus
fiduciaries of the Plan. (AC ¶¶ 1, 34-40, 46.)

4
       Defendants Ted Koenecke and Glenn Elo were senior executives at Lifetouch and
served as Trustees of the Plan until May 2017. (AC ¶¶ 41-42, 47-48.)
                                               6
        CASE 0:18-cv-00577-JNE-TNL Doc. 72 Filed 08/14/18 Page 12 of 32




61, 78, 82.) The Lifetouch Trustees should have recognized the warning signs that the

valuations they signed off on were based on inaccurate data in light of Lifetouch’s

precarious economic circumstances in 2015 and 2016, and they should have investigated

the potential artificial inflation of Lifetouch’s stock instead of doing nothing. (Id. ¶¶ 5, 12-

14, 58-59, 99.) The Board Defendants and Lifetouch should never have manipulated the

valuation of Lifetouch’s stock in the first place. (Id. ¶¶ 11, 16-17, 20, 61-62, 77-78.)

Failing that, the Board Defendants, as fiduciaries responsible for monitoring the Lifetouch

Trustees, should have intervened when the Lifetouch Trustees endorsed artificially inflated

valuations of Lifetouch stock in 2015 and 2016 (even though the Board Defendants were

responsible for the manipulated inputs that engendered those artificially inflated

valuations). (Id. ¶¶ 79-81, 106-07.) Lifetouch, as the Plan Administrator, was responsible

for communicating with Plan participants; it should have communicated the truth of

Lifetouch stock’s value once the Lifetouch Trustees endorsed an artificially inflated

valuation of that stock. (Id. ¶¶ 51-52, 82-84.) By enabling the artificially inflation of

Lifetouch stock and taking no action to protect Plan participants from being invested in

artificially inflated stock, all of these Defendants breached their fiduciary duties of

prudence. (Id. ¶¶ 11-20, 58-63, 74-84.)

       a. The 2015 and 2016 Valuations Were Artificially Inflated

       Even at the pleading stage, without the benefit of any discovery, there is ample

evidence that the 2015 and 2016 valuations of Lifetouch stock—at $93 and $88 per share,




                                               7
        CASE 0:18-cv-00577-JNE-TNL Doc. 72 Filed 08/14/18 Page 13 of 32




respectively—did not reflect its true value and were, in fact, artificially inflated by the

Board Defendants and Lifetouch itself. (AC ¶¶ 14, 58.)

       First, the Board Defendants and Lifetouch manipulated the data used to determine

the value of Lifetouch’s stock. A key metric provided to the independent advisor in valuing

Lifetouch stock was the number of “sits”—sittings for photographs—that the Company

had during the prior year. (AC ¶ 61.) Lifetouch inflated this figure in at least two ways.

As alleged in the Complaint, “if Lifetouch booked a family of five for a photoshoot, instead

of marking that shoot as one ‘sit,’ Lifetouch would count it as six—one for the family, and

then one for each individual member of the family.” (Id.) In such a situation Lifetouch

only profited from one “sit,” yet Lifetouch booked it as six, making its financial benefit

appear to be six times greater than it actually was. (Id.)

       As further alleged in the Complaint, “Lifetouch would send large teams of

employees to do photoshoots in faraway places even though only one or two appointments

had been booked, and the profit from the shoot could not justify the expense of the travel.

Such expensive shoots counted as sits, however, and thus further boosted Lifetouch’s

ostensible value” even though those travel-heavy sits were not actually profitable for the

Company. (AC ¶ 61.) In these ways, the financial data provided to the independent advisor

tasked with performing the valuation of Lifetouch’s stock was fundamentally tainted and

gave rise to an artificially inflated outcome. (Id. ¶¶ 11, 61, 78, 82.)

       Second, Lifetouch experienced significant deterioration in its financial condition

throughout 2015 and especially 2016, yet its stock-price valuations during this time barely


                                              8
       CASE 0:18-cv-00577-JNE-TNL Doc. 72 Filed 08/14/18 Page 14 of 32




reflected the Company’s struggles. During this time, Lifetouch experienced a wave of

closures of its portrait studios in J.C. Penney and Target stores. (AC ¶¶ 12-13, 59, 75-77.)

In November 2015, Lifetouch was forced to close its Charlotte, North Carolina production

facility and lay off 206 employees, even though it had acquired those facility only four

years earlier.   (Id.)   Lifetouch also suffered the resignations of numerous senior

experiences, culminating in the departure of then-Chief Executive Officer (“CEO”) Paul

Harmel in July 2016. (Id.)

       Third, and perhaps most damning, once all of Lifetouch’s senior executives,

particularly Defendant Harmel, had retired, Lifetouch’s 2017 valuation reflected a steep

drop in the value of the Company—roughly 36%—even though there had been no material

change in the Company’s fortunes during the intervening period. (AC ¶¶ 14, 17, 58, 64,

80.) All of the significant financial distress had occurred in 2015 and 2016. (Id. ¶¶ 58-59,

75-77.) Even Harmel’s retirement, while technically occurring in July 2016, just days after

the 2016 valuation on June 30, 2016, was known to the Lifetouch Trustees when the 2016

valuation was performed and thus should only have impacted the 2016 valuation, not the

2017 one. (Id. ¶ 58.)

       b. Defendants’ Failure to Act on the Artificial Inflation of Lifetouch Stock Was a
          Breach of Fiduciary Duty

       By causing Lifetouch stock to be valued at an artificially inflated price, the Board

Defendants and Lifetouch breached their fiduciary duties. The Lifetouch Trustees may or

may not have known that the data being provided to the independent advisor had been

manipulated; but, at a minimum, the Lifetouch Trustees had enough warning signs about

                                             9
        CASE 0:18-cv-00577-JNE-TNL Doc. 72 Filed 08/14/18 Page 15 of 32




the financial distress that Lifetouch was experiencing that they should have investigated

whether Lifetouch stock remained a prudent investment or whether it had become

imprudent by virtue of being artificially inflated. See Armstrong v. LaSalle Bank Nat’l

Ass’n, 446 F.3d 728, 734 (7th Cir. 2006) (“A trustee who simply ignored changed

circumstances that have increased the risk of loss to the trust’s beneficiaries is imprudent”);

see also Brannen v. First Citizens Bankshares, Inc., 2016 U.S. Dist. LEXIS 114775, at

*17-19 (S.D. Ga. Aug. 26, 2016) (allegations that an employee stock plan fiduciary failed

to investigate continued prudence of holding employer’s stock sufficient to state a claim

for breach of the fiduciary duty of prudence).

       The Lifetouch Defendants collectively offer a series of arguments why an adequate

claim nevertheless has not been pleaded; none is persuasive.

       The Lifetouch Defendants first argue that “Plaintiffs do not directly criticize the

[Lifetouch Trustees’] valuation process[,]” and, therefore, no duty-of-prudence against the

Lifetouch Trustees can lie. (LD Mem. 10.) Defendants are mistaken; Plaintiffs allege that

the valuation process was tainted by the input of manipulated data, which the Lifetouch

Trustees would have discerned had they investigated the dramatic gulf between the

generous valuations of 2015 and 2016 and Lifetouch’s dismal financial reality over that

same period. (AC ¶¶ 12-14, 58-59, 64, 75-77, 80, 99.) The Lifetouch Defendants argue

that faulting the Lifetouch Trustees for their failure to take note of Lifetouch’s financial

hardship is “hindsight” (LD Mem. 11), but it is no such thing. Lifetouch’s Charlotte

facility’s closure happened in November 2015; over 200 employees were laid off at that


                                              10
       CASE 0:18-cv-00577-JNE-TNL Doc. 72 Filed 08/14/18 Page 16 of 32




time; Lifetouch experienced studio closures all over the country throughout 2015 and 2016;

the retirement of Harmel and other senior executives was known prior to the June 30, 2016

valuation. Between the 2016 and 2017 valuations, nothing materially changed regarding

the Company’s financial situation, yet the value of the Company’s stock dropped 36%,

conveniently after Defendant Harmel had managed to cash out of his stock holdings.5

      In other words, these warning signs, demonstrating that Lifetouch was in serious

financial trouble, were known—and knowable—at the time, not with the benefit of

hindsight. The failure of the Lifetouch Trustees even to investigate the marked contrast

between Lifetouch’s financial circumstances and the sunny inputs going into the stock

valuations was a dereliction of the basic duty of an ERISA fiduciary to monitor the

continued prudence of employee retirement investments. Tibble v. Edison Int’l, 135 S. Ct.

1823, 1829 (2015) (a fiduciary has “a continuing duty of some kind to monitor

investments” and “a plaintiff may allege that a fiduciary breached the duty of prudence by

failing to properly monitor investments”). The Lifetouch Trustees’ complete inaction in

the face of contemporaneous warning signs is more than enough to adequately allege their

breach of the fiduciary duty of prudence. See Morrison v. Moneygram Int’l, Inc., 607 F.

Supp. 2d 1033, 1053-54 (D. Minn. 2009); In re ADC Telcoms., Inc., 2004 U.S. Dist. LEXIS

14383, at *20-22 (D. Minn. July 26, 2004).


5
       The Lifetouch Defendants claim that “Plaintiffs fail to explain why the 2017
valuation process—with the same Independent Appraiser—delivered a correct 2017 value,
but incorrect 2015 and 2016 values.” (LD Mem. 12.) Actually, Plaintiffs offer an obvious
explanation for the difference; once Defendant Harmel had retired, the Board Defendants
and Lifetouch stopped manipulating the underlying valuation data. (AC ¶¶ 14, 61, 78,
115.)
                                             11
       CASE 0:18-cv-00577-JNE-TNL Doc. 72 Filed 08/14/18 Page 17 of 32




       The Lifetouch Defendants next seek to exonerate the Board Defendants and

Lifetouch on the ground that neither “could be primarily liable for improper valuation of,

or failure to monitor, Lifetouch stock.” (LD Mem. 16.) Yet these Defendants are alleged

to have manipulated the data that was used to value Lifetouch stock, thus giving them direct

responsibility for the failure of the valuation process to accurately value Lifetouch stock.

(AC ¶¶ 11, 17, 61, 78.)

       Citing this Court’s decision in In re Target Corp. Sec. Litig., 275 F. Supp. 3d 1063

(D. Minn. 2017), the Lifetouch Defendants justify the Board Defendants’ and Lifetouch’s

provision of manipulated data to the Lifetouch Trustees by arguing that “‘ERISA does not

impose a duty on ESOP fiduciaries to keep their appointees apprised of nonpublic

information’ about the company, even if it might inform the ESOP trustee’s decisions.”

(LD Mem. 17 (quoting Target, 275 F. Supp. 3d at 1093).) As the Lifetouch Defendants

acknowledge, however, the issue here is not about disclosing “nonpublic” information

about a public company, where such disclosure could trigger liabilities and obligations

under, and might otherwise contravene, the federal securities laws. (Id.) Lifetouch was a

privately-held company.6 More important, the Board Defendants and Lifetouch are not

alleged to have withheld information from the Lifetouch Trustees and, therefore, from the



6
        Fish v. Greatbanc Tr. Co., 2016 U.S. Dist. LEXIS 137351 (N.D. Ill. Sept. 1, 2016),
relied on by Lifetouch Defendants for the proposition that an ERISA fiduciary of a
privately-held company may also withhold “nonpublic” information from another
fiduciary, actually says that “the Court need not decide today whether ERISA imposes a
duty to inform” as between fiduciaries of privately-held companies. Id. at *170. That
decision was also reached after not only discovery, but a full trial on the merits. Id. And
it certainly has nothing to say about whether one fiduciary may mislead another fiduciary
without breaching his or her duty. Id.
                                            12
       CASE 0:18-cv-00577-JNE-TNL Doc. 72 Filed 08/14/18 Page 18 of 32




independent advisor; they are alleged to have manipulated the information provided to the

Lifetouch Trustees and the independent advisor, rendering that information inaccurate and

artificially inflating the valuation of Lifetouch stock. Neither this Court’s decision in

Target nor any other ERISA jurisprudence legitimizes the provision of false information

by a fiduciary. After all, “lying is inconsistent” with the fiduciary duty under ERISA.

Varity Corp. v. Howe, 516 U.S. 489, 506 (1996).

      The Lifetouch Defendants glancingly suggest in a footnote that Plaintiffs’

allegations of data manipulation by the Board Defendants and Lifetouch “must be pled

with the particularity required by Fed. R. Civ. 9(b).” (LD Mem. 17 n.11.) But the majority

of courts have found that claims for breach of fiduciary duty under ERISA need only be

pleaded consistent with Federal Rule of Civil Procedure 8. See Jander v. IBM, 205 F.

Supp. 3d 538, 542 (S.D.N.Y. 2016) (“‘[A]llegations similar to fraud do not implicate Rule

9(b) where the gravamen of the claim is grounded in ERISA.’”) (quoting In re Polaroid

ERISA Litig., 362 F. Supp. 2d 461, 470 (S.D.N.Y. 2005)); In re Elec. Data Sys. Corp.

“ERISA” Litig., 305 F. Supp. 2d 658, 672 (E.D. Tex. 2004) (“Although fraud and breach

of a duty to inform may both involve an omission, the Court does not find that every breach

of a fiduciary duty to inform is a scheme to defraud. Thus, Rule 9(b) does not apply to

these pleadings …”).7 Even the one authority cited by the Lifetouch Defendants, In re Xcel


7
       See also In re Marsh ERISA Litig., 2006 U.S. Dist. LEXIS 90631, at *8-9 (S.D.N.Y.
Dec. 14, 2006) (noting that “fiduciary duty claims brought under ERISA are subject only
to the ‘simplified pleading standard’ of Federal Rule of Civil Procedure 8(a) rather than
the heightened pleading standard of Federal Rule of Civil Procedure 9(b)”) (quoting In re
Worldcom, Inc., 263 F. Supp. 2d 745, 756 (S.D.N.Y. 2003)) (additional citations omitted);
Precision Vascular Sys., Inc. v. Sarcos, L.C., 199 F. Supp. 2d 1181, 1191 (D. Utah 2002)
(“Generally, ‘a plaintiff pleading a claim for breach of fiduciary duty need only comply
                                            13
        CASE 0:18-cv-00577-JNE-TNL Doc. 72 Filed 08/14/18 Page 19 of 32




Energy, Inc., 312 F. Supp. 2d 1165 (D. Minn. 2004), held that, where “plaintiffs’ breach

of fiduciary duty claims are premised on defendants’ failure to act in light of the adverse

circumstances that were hidden by the fraudulent conduct . … Rule 9(b) does not apply in

these circumstances.” Id. at 1179.

       The Lifetouch Defendants also try to excuse their misconduct by arguing that the

Supreme Court’s decision in Fifth Third Bancorp v. Dudenhoeffer, 134 S. Ct. 2459 (2014),

thwarts any attempt by Plaintiffs to hold them responsible for artificially inflating the value

of Lifetouch stock and doing nothing to investigate that inflation despite clear red flags that

the valuations did not match up with Lifetouch’s financial reality. (LD Mem. 18-26.) As

an initial matter, however, Dudenhoeffer should not apply to fiduciary actions (or inaction)

at privately-held companies. As the Seventh Circuit observed in Allen v. GreatBanc Trust

Co., 835 F.3d 670 (7th Cir. 2016), “Dudenhoeffer’s rationale—the need to protect

fiduciaries from running up against insider trading law by relying on non-public

information for stock valuation—has no application to the private stock context.” Id. at

679. Where, as here, the stock valuation in question was not based on “a trustworthy

benchmark[,]” a breach of the fiduciary duty of prudence is adequately pleaded. Id.

       It makes sense why Dudenhoeffer, with its formulation that a duty-of-prudence

claim must adequately allege an action that a fiduciary could have taken that he or she

could reasonably have believed would not do “more harm than good” to the Plan and its

participants, would be inapposite in the private-company context. Dudenhoeffer, 134 S.


with Rule 8 . . . , not Rule 9(b), because this claim is not based on fraud.’”) (quoting Sheldon
v. Vermonty, 31 F. Supp.2d 1287, 1295 (D. Kan. 1998)).
                                              14
       CASE 0:18-cv-00577-JNE-TNL Doc. 72 Filed 08/14/18 Page 20 of 32




Ct. at 2473. The Supreme Court in Dudenhoeffer was particularly concerned that a

proposed action by a fiduciary, especially one with knowledge of an artificially inflated

stock price, might “do more harm than good to the fund by causing a drop in the stock price

and a concomitant drop in the value of the stock already held by the fund.” Id. Courts

analyzing duty-of-prudence claims involving publicly-traded stocks have analyzed the

sufficiency of claims under this rubric. See, e.g., Target, 275 F. Supp. 3d at 1085-88.

       No such concern arises with a privately-held company like Lifetouch, thus obviating

the need for applying Dudenhoeffer altogether. But whether Dudenhoeffer is in the mix or

not, it is hard to see how the proposed actions that Plaintiffs allege the Lifetouch

Defendants should have taken with respect to the 2015 and 2016 valuations would have

been more harmful than helpful. Plaintiffs propose, first and foremost, that the Board

Defendants and Lifetouch should not have manipulated the data that was used to generate

the 2015 and 2016 valuations. (AC ¶¶ 61-62.) Similarly, the Lifetouch Trustees should

have recognized that the 2015 and 2016 valuations could not be squared with Lifetouch’s

dire financial circumstances, and they should have investigated the accuracy of those

valuations. (Id. ¶¶ 58-62, 75-77, 99.) What harm would have come to Plan participants if

Lifetouch stock had been accurately valued in 2015 and 2016? The Lifetouch Defendants

do not—and, indeed, cannot—say.

       Alternatively, Lifetouch, as Plan Administrator, could have honestly communicated

to Plan participants the true value of Lifetouch stock notwithstanding the artificially

inflated valuations. (AC ¶¶ 82-84.) The Lifetouch Defendants suggest that “a reasonable


                                            15
       CASE 0:18-cv-00577-JNE-TNL Doc. 72 Filed 08/14/18 Page 21 of 32




fiduciary might readily conclude that the disclosure would trigger a rush to redeem

Lifetouch shares by vested participants, draining the company of its cash reserves, and

leaving the company inoperative and difficult to sell.” (LD Mem. 26.) In the context of

public securities markets, disclosure of adverse information may “trigger a rush,” but the

Lifetouch Defendants offer no compelling reason why such a disaster would occur with a

privately-held, employee-owned company. Nor is it reasonable for Plaintiffs to have to

rebut this nightmare fantasy at the pleading stage without the benefit of discovery. And

perhaps most important, if the Lifetouch Defendants truly believe that disclosure of

Lifetouch’s actual financial condition to the Company’s employees in 2015 or 2016 would

“trigger a rush” that would precipitate its destruction, what does that say about whether

Lifetouch stock was a prudent retirement investment for those employees at that time?

      Plaintiffs also propose that the Lifetouch Trustees “could have mandated the

redemption of Plan participants’ stock holdings until such time as Lifetouch reversed its

precipitous decline and its stock once again became a prudent investment.” (AC ¶ 62.)

The Lifetouch Defendants contend that such an action would constitute an improper

“diversification requirement” from which they are exempted under Dudenhoeffer. (LD

Mem. 18.) Even Dudenhoeffer, however, does not allow fiduciaries to maintain company

stock holdings no matter how imprudent they become. Even where, as here, the Plan’s

governing trust document mandated that employees’ investments be kept primarily in

Lifetouch stock, when that investment became imprudent, the Lifetouch Trustees were free

to deviate from that prescription, because “‘trust documents cannot excuse trustees from


                                           16
       CASE 0:18-cv-00577-JNE-TNL Doc. 72 Filed 08/14/18 Page 22 of 32




their duties under ERISA.’” Dudenhoeffer, 134 S. Ct. at 2469 (quoting Cent. States,

Southeast & Southwest Areas Pension Fund v. Cent. Transp., Inc., 472 U.S. 559, 568

(1985)).

       Ultimately, the Lifetouch Defendants purport to find fault with Plaintiffs’

allegations regarding the 2015 and 2016 valuations for an insufficient specificity about the

particulars of the valuation process or the Board Defendants’ and Lifetouch’s manipulation

of the underlying data. Such arguments seek to impose an unfair burden on Plaintiffs, who

are not sophisticated parties and have not had the benefit of discovery. As the Eighth

Circuit held in Braden v. Wal-Mart Stores, Inc., 588 F.3d 585 (8th Cir. 2009), an employee

alleging a breach of the fiduciary duty of prudence need not “plead ‘specific facts’

explaining precisely how the defendant’s conduct was unlawful.” Id. at 595 (quoting

Erickson v. Pardus, 551 U.S. 89, 93 (2007)). Even where Plaintiffs do not “directly

address[ ] the process by which the Plan was managed[,]” so long as Plaintiff’s allegations,

“[t]aken as true, and considered as a whole,” allow this Court to reasonably infer

Defendants’ misconduct, then Plaintiffs’ claim has been adequately alleged.8 Id. at 596.

After all, “[n]o matter how clever or diligent, ERISA plaintiffs generally lack the inside

information necessary to make out their claims in detail unless and until discovery

commences.” Id. at 598. Plaintiffs have more than satisfied this burden regarding the 2015

and 2016 valuations.



8
       “[T]he complaint should be read as a whole, not parsed piece by piece to determine
whether each allegation, in isolation, is plausible.” Braden, 588 F.3d at 594 (citing Vila v.
Inter-Am. Inv. Corp., 570 F.3d 274, 285 (D.C. Cir. 2009) (other citations omitted)).
                                             17
          CASE 0:18-cv-00577-JNE-TNL Doc. 72 Filed 08/14/18 Page 23 of 32




   II.      Plaintiffs Have Adequately Pleaded a Breach of the Fiduciary Duty of
            Prudence as to the 2017 and 2018 Valuations

         In June 2017, soon after Newport Trust took over as Trustee of the Plan, Lifetouch

stock was valued at $56, a 36% decline from the prior year, despite no material changes to

the Company having occurred during the intervening year. (AC ¶¶ 17, 64.) Lifetouch

evidently decided to sell itself around that time, and discussions with Shutterfly regarding

a possible acquisition may have commenced as early as August 2017. (Id. ¶¶ 67-68.) The

Shutterfly acquisition of Lifetouch was announced on January 30, 2018, but at a purchase

price of only $825 million. (Id. ¶ 70.) This represented a significant decline from the

Company’s June 2017 valuation at $56 a share, yet nothing material regarding the

Company’s financial state appeared to have changed during the intervening period. (Id. ¶¶

65-70.)

         The disparity between the 2017 and 2018 valuations can be explained in one of two

ways, neither of which paints Newport Trust in a terribly flattering light. Most likely,

Newport Trust knew the Shutterfly offering price of $825 million undervalued the

Company because its value was essentially unchanged since June 2017. (AC ¶¶ 64-71.) It

is also possible, although less likely, that Newport Trust knew (or should have known) in

June 2017 that the Company’s value was going to decline even more to make it attractive

for acquisition, in which case the 2017 valuation was improperly inflated. Either way, by

endorsing a valuation of Lifetouch that did not reflect the Company’s actual value,

Newport Trust breached its fiduciary duty of prudence. (Id. ¶¶ 70-71, 99-101.)



                                             18
        CASE 0:18-cv-00577-JNE-TNL Doc. 72 Filed 08/14/18 Page 24 of 32




       a. Newport Trust’s Purported Factual Assertions Regarding the Shutterfly
          Purchase Price Should Not Be Credited on a Motion to Dismiss

       Virtually the entirety of Newport Trust’s motion to dismiss rests on its assertion that

“the total price that Shutterfly has actually paid to date to acquire Lifetouch stock is $56.01

per share, or $963 million in total.” (NT Mem. 2.) Newport Trust claims that this “fact”

vitiates Plaintiffs’ claims under Federal Rule 12(b)(1) and (6). (Id. 9-16.)

       The basis for Newport Trust’s “fact,” however, is not anything found within the four

corners of Plaintiffs’ Complaint, but rather stems from the declaration of a Newport Trust

employee, William Glasgow, and from the June 11, 2018 Form 8-K/A filing of Shutterfly.

(NT Mem. 7.) Newport Trust asks the Court to take judicial notice of the latter document.

(Id. 7 n.5.) The Court should not do so.

       While a court may take judicial notice of an SEC filing on a motion to dismiss, it

may not take notice of that document when it is offered for the truth of matters asserted

therein. See Kushner v. Beverly Enters., 317 F.3d 820, 830 (8th Cir. 2003) (SEC filings do

not merit judicial notice when offered for the truth of their contents because “[s]uch

disputed papers should not be the subject of judicial notice on a motion to dismiss”) (citing

Fla. State Bd. of Admin. v. Green Tree Fin. Corp., 270 F.3d 645, 663 (8th Cir. 2001)); see

also Little Gem Life Scis., LLC v. Orphan Med., Inc., 537 F.3d 913, 916 (8th Cir. 2008).

       Why should this Court credit the untested assertions of William Glasgow’s

Declaration and Shutterfly’s SEC filing? Plaintiffs have not had the opportunity to depose

Mr. Glasgow. They have taken no discovery about Shutterfly. Just because something is



                                              19
       CASE 0:18-cv-00577-JNE-TNL Doc. 72 Filed 08/14/18 Page 25 of 32




filed with the SEC does not make it true; the extensive body of securities fraud law provides

a good demonstration of why.

       Indeed, a cursory examination of Shutterfly’s public filings shows why they cannot

simply be accepted at face value, especially with the benefit of discovery. Shutterfly filed

a Form 8-K on April 2, 2018—coincidentally, the same day that Plaintiffs’ amended

complaint was filed. (See Sauerwald Decl. ¶¶ 5-6.)9 Exhibit 99.3 to that filing contains

the Consolidated Financial Statements of Lifetouch for the Years Ended June 30, 2017,

2016 and 2015, the first time such information has been made public. (Id., Ex. A at 1.)

According to that filing, “[t]he fair value of the common stock [of Lifetouch] at June 30,

2017 was estimated to be $63.00.” (Id. at 19.) This information is purported to be the fruit

of the “Independent Auditors” of Lifetouch as of August 9, 2017. (Id. at 1.)

       Yet, according to Exhibit 99.4 to the same Form 8-K, which purports to be the

Unaudited Consolidated Financial Statements of Lifetouch, “[t]he fair value of the

common stock at December 31, 2017 was estimated to be $56.00, and the fair value at June

30, 2017 was $56.00 per share.” (Sauerwald Decl., Ex. B at 18.)

       It is curious why Lifetouch’s audited and unaudited financials would contain

different June 30, 2017 valuations of Lifetouch stock. It is curious why the lower,




9
      See Declaration of Justin Sauerwald, dated August 14, 2018 (abbreviated
“Sauerwald Decl.” throughout), filed contemporaneously with this brief.
                                             20
       CASE 0:18-cv-00577-JNE-TNL Doc. 72 Filed 08/14/18 Page 26 of 32




unaudited valuation, $56.00, is the one that would be officially communicated to Lifetouch

employees. (AC ¶ 17.)10

       Plaintiffs do not wish to turn this motion to dismiss into a motion for summary

judgment. The above information is merely offered to illustrate the unreliability of

Shutterfly’s SEC filings. There are very good reasons why courts do not let such filings

come in for the truth of their contents at the pleading stage, as the above contradiction

amply demonstrates.

       Even Mr. Glasgow’s declaration, on its face, is dubious. At one point he avers that

“the total sale price of the Shutterfly acquisition to date is $963 million, or $56.01 per

share.” (Dkt. No. 53 ¶ 21.) Then he states that “in a recent June 11, 2018 Form 8-K/A

filing, Shutterfly estimated that the preliminary purchase price consideration for the

acquisition as of April 2, 2018 was more than $983 million.” (Id.) Apparently, even Mr.

Glasgow cannot keep straight what the right figure is.

       This Court should not be engaged in a deep dive into Shutterfly’s SEC filings to

assess the accuracy of Plaintiffs’ allegations. “Materials outside the pleadings offered for

such contradictory or supplementary purposes may not be considered.” Dunnigan v. Fed.

Home Loan Mortg. Corp., 184 F. Supp. 3d 726, 734 (D. Minn. 2016) (citing Wieland v.

U.S. Dep’t of Health and Human Servs., 793 F.3d 949, 953 (8th Cir. 2015)).11 Plaintiffs

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       Indeed, if the actual value of Lifetouch was $63 per share as of June 30, 2017, then
the Shutterfly acquisition is still too low even if Newport Trust’s $900 million-plus figure
is credited.
11
       “[I]f the document merely creates a defense to the well-pled allegations in the
complaint, then that document did not necessarily form the basis of the complaint.
Otherwise, defendants could use the doctrine to insert their own version of events into the
complaint to defeat otherwise cognizable claims.” Khoja v. Orexigen Therapeutics, Inc.,
                                            21
       CASE 0:18-cv-00577-JNE-TNL Doc. 72 Filed 08/14/18 Page 27 of 32




have alleged that the Shutterfly purchase price was $825 million, notwithstanding cash and

cash equivalents of unknown, and possibly nonexistent, value; that allegation should be

taken as true by this Court. (AC ¶ 70.) See Beaulieu v. Ludeman, 2008 U.S. Dist. LEXIS

119324, at *33 (D. Minn. Feb. 7, 2008) (“[F]or the purposes of a motion to dismiss, this

Court cannot look beyond plaintiffs’ Complaint”).

       b. Newport Trust Breached Its Fiduciary Duty of Prudence in Approving the $825
          Million Purchase Price

       Nothing justifies Newport Trust’s approval of the $825 million acquisition price by

Shutterfly. The value of Lifetouch had not materially changed since the June 2017

valuation, so a 17.5% decline in price makes no sense; it cannot have been based on a

“trustworthy benchmark.” Allen, 835 F.3d at 679. All Newport Trust had to do was

investigate whether a 17.5% valuation decline in the absence of a material change in the

Company’s financial circumstances was justified, but it did not do so. (AC ¶ 99.) As with

the 2015 and 2016 valuations, the specific facts detailing Newport Trust’s investigative

failure cannot be identified without discovery, but the surrounding facts speak for

themselves, giving rise to an inference that Newport Trust’s process must have been deeply

flawed. Braden, 588 F.3d at 595-96. Accordingly, as with the Lifetouch Trustees’ failure

to investigate the imprudence of the 2015 and 2016 valuations, Newport Trust’s failure to

investigate the imprudence of the 2018 Shutterfly acquisition price constitutes a breach of

its fiduciary duty of prudence. (See p. 18, supra.)



No. 16-56069, 2018 U.S. App. LEXIS 22371, at *27 (9th Cir. Aug. 13, 2018) (emphasis
added).
                                            22
          CASE 0:18-cv-00577-JNE-TNL Doc. 72 Filed 08/14/18 Page 28 of 32




   III.      Plaintiffs Have Adequately Pleaded Breach of the Duty of Loyalty
          It is well-established that “fiduciaries managing ongoing plans must discharge their

duties solely in the interest of the participants and beneficiaries of the plans”—such is the

fiduciary duty of loyalty. Bigger v. Am. Commercial Lines, 862 F.2d 1341, 1346 (8th Cir.

1988); Donovan, 680 F.2d at 271 (fiduciary “decisions must be made with an eye single to

the interests of the participants and beneficiaries”) (citation omitted).

          Here, the Board Defendants and Lifetouch manipulated the financial data that was

provided to the independent advisor, leading to an artificially inflated valuation of

Lifetouch stock in 2015 and 2016. (AC ¶¶ 11, 16-17, 20, 61-62, 77-78.) At the same time,

multiple senior executives, and particularly Defendant and then-CEO Paul Harmel, were

able to retire and cash out in part or in whole at an artificially high stock price. (Id. ¶¶ 77-

79, 115.) The 2015 and 2016 valuations did not reflect the real value of the Company; the

artificial inflation was only effectuated to enrich Defendant Harmel and others. (Id.)

          Such conduct is a textbook breach of the fiduciary duty of loyalty. See, e.g., Martin

v. Feilen, 965 F.2d 660, 670-71 (8th Cir. 1992) (fiduciaries who enriched themselves to

the detriment of their wards engaged in “reprehensible self-dealing”). Neither the Board

Defendants nor Lifetouch can explain away these blatant violations of their fiduciary

duties.

   IV.       Plaintiffs Have Adequately Pleaded a Breach of the Duty to Monitor

          Under ERISA, a person with authority to appoint, maintain, and remove plan

fiduciaries is a fiduciary with respect to that exercise of authority. In re Xcel Energy, 312

F. Supp. 2d at 1176. Those empowered to appoint and remove plan fiduciaries have a duty
                                               23
        CASE 0:18-cv-00577-JNE-TNL Doc. 72 Filed 08/14/18 Page 29 of 32




to monitor those appointees, which includes a duty to act upon discovery that appointed

fiduciaries are performing improperly. Crocker v. KV Pharm. Co., 782 F. Supp. 2d 760,

787 (E.D. Mo. 2010).

        Once the Board Defendants became aware that, first the Lifetouch Trustees, and

then Newport Trust, had failed to investigate the imprudence of Lifetouch stock owing to

the artificially inflated valuations of 2015 and 2016 and the improperly low acquisition

price of 2018, they should have acted to pressure those Trustees to conduct the proper

investigation or to value Lifetouch accurately, or, failing that, they should have removed

those Trustees from their fiduciary positions. (AC ¶¶ 106-08.) Considering that the Board

Defendants were responsible for the inaccuracy of the 2015 and 2016 valuations to begin

with, their failure to act on the Lifetouch Trustees’ inaction is especially egregious. (Id. ¶¶

61-62, 77-79.) Accordingly, these fiduciaries breached their duty to monitor.

   V.      If the Court Grants Defendants’ Motions to Dismiss,
           It Should Do So Without Prejudice

        This Court should deny the Lifetouch Defendants’ and Newport Trust’s motions to

dismiss in their entirety. If, however, the Court grants one or both of these motions, it

should do so without prejudice to Plaintiffs’ ability to file an amended complaint.

        The Shutterfly Form 8-K filed on April 2, 2018, the same day as the operative

complaint in this case, has provided new information that further explains Defendants’

motivation for artificially inflating Lifetouch’s stock price in 2015 and 2016 in breach of

the fiduciary duties of prudence and loyalty. For example, the Form 8-K in its discussion

of Lifetouch’s Consolidated Financial Statements refers to something called the 2012

                                              24
       CASE 0:18-cv-00577-JNE-TNL Doc. 72 Filed 08/14/18 Page 30 of 32




Omnibus Management Incentive Stock Plan, which provided for “the granting of stock

options to purchase shares of the Company’s stock and for other stock-based awards to

certain key officers and members of its Board”—in other words, to many of the Board

Defendants. (See Sauerwald Decl., Ex. A at 20.) In 2015, 737,890 such options were

exercised by Board Defendants and other Lifetouch senior executives at a weighted-

average price of $91.84. (Id.) Lifetouch repurchased those shares at $103.00. (Id.) The

recipients of these options were enriched by more than $8.23 million in this transaction. In

2016, 137,857 such options were exercised at a weighted-average price of $91.00. (Id.)

Lifetouch repurchased those shares at $93.00. (Id.) The enrichment for these recipients

was more than $275,000. (Id.)

       In 2017, however, after the June 2016 and 2017 valuations, zero such options were

exercised. (Sauerwald Decl., Ex. A at 20.)

       Based on this information alone, it seems that Defendants—including perhaps the

Lifetouch Trustees themselves—had every incentive to keep Lifetouch’s stock price

artificially inflated while senior executives and Board members were cashing in as part of

this program; then, once they had done so, the stock price was allowed to descend to its

real level, and no more cashing in was done.

       Similarly, as discussed above, the audited financials of Lifetouch in 2017, only now

available through Shutterfly’s Form 8-K, suggest that the actual 2017 valuation of

Lifetouch was $63 per share; thus, even if the Court were to credit Newport Trust’s

assertion that the acquisition price approximated a value of $56.01 per share, that price is


                                             25
        CASE 0:18-cv-00577-JNE-TNL Doc. 72 Filed 08/14/18 Page 31 of 32




still too low, and constitutes a breach of fiduciary duty, when compared to the $63-per-

share valuation. (Sauerwald Decl., Ex. A at 20.)

       The Shutterfly acquisition has only just enabled this review of Lifetouch’s

heretofore secret financials. But what limited information has emerged further reinforces

the misconduct that Defendants accomplished in connection with the 2015, 2016 and even

2017 valuations of Lifetouch stock.

       Thus, if the Court decides to grant Defendants’ motions to dismiss, it should do

without prejudice, because Plaintiffs have here set forth “‘the substance of the proposed

amendment to the district court.’” In re 2007 Novastar Fin. Inc., Sec. Litig., 579 F.3d 878,

884-85 (8th Cir. 2009) (quoting Clayton v. White Hall Sch. Dist., 778 F.2d 457, 460 (8th

Cir. 1985)) (additional citations omitted).

                                      CONCLUSION

       For the foregoing reasons, Plaintiffs respectfully request that Defendants’ Motions

to Dismiss the Amended Class Action Complaint be denied in their entirety. In the

alternative, if Defendants’ Motions are granted, Plaintiffs respectfully request that the

Court do so without prejudice.




                                              26
      CASE 0:18-cv-00577-JNE-TNL Doc. 72 Filed 08/14/18 Page 32 of 32




DATED: August 14, 2018      By: /s/ Samuel E. Bonderoff
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                                      27
